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 4   ATTORNEY FOR DEFENDANT,
          MICHAEL NOBARI
 5

 6                              UNITED STATES DISTRICT COURT

 7                             EASTERN DISTRICT OF CALIFORNIA

 8
     THE UNITED STATES OF AMERICA,
 9                              Plaintiff,              CASE # CR. F. 03-5453 OWW

10   vs.                                                EX PARTE APPLICATION FOR ORDER
                                                        EXONERATING PROPERTY BOND AND
11                                                      ORDER THEREON
     MICHAEL C. NOBARI,
12
                                           Defendant
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     To:    THE HONORABLE OLIVER W. WANGER, JUDGE OF THE ABOVE ENTITLED
15   COURT:      The Defendant, Michael C. Nobari, by and through his attorney, Timothy B. Rote,
16   hereby requests an order exonerating bond in this action. Mr. Nobari was released on or about
17   January 20, 2004 on a property bond in the amount of $200,000 posted by Pnoeil Nobari and

18   Carmen Benyamin Nobari by way of execution of Deeds of Trust for two separate properties.

19   Michael Nobari was subsequently remanded into custody at the conclusion of his jury trial on

20   May 4, 2005. Accordingly, exoneration of the property bond is requested.

21   Dated: May 18, 2005                  Respectfully submitted,

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                                          /s/ Timothy B. Rote
                                          Timothy B. Rote
23                                        Attorney for Defendant Michael C. Nobari

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 1                                                ORDER

 2          It appearing that there is no further need for the existence of the property bond posted for

 3   the pretrial release of Michael C. Nobari, the property bond posted on his behalf is hereby

 4   exonerated and the properties involved are ordered re-conveyed to Pnoeil Nobari and Carmen

 5   Benyamin Nobari as listed on the Deeds of Trust previously filed in this case.

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 7   Dated: _____May 19, 2005____

 8                                                 /s/ OLIVER W. WANGER________________
                                                   OLIVER W. WANGER
 9                                                 United States District Judge
                                                   Eastern District of California
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